AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case




                                               UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
                V.                                                     )
                                                                       )
    RENAIRE ROSHIQUE LEWIS JR                                          )   Case Number: DNCW317CR000134-043
                                                                       )   USM Number: 33592-058
                                                                       )
                                                                       )   Daniel Powers Roberts
                                                                       )   Defendant’s Attorney

THE DEFENDANT:
  Pleaded guilty to count(s).
  Pleaded nolo contendere to count(s) which was accepted by the court.
  Was found guilty on count(s) 1sss, 12sss, 13sss, 14sss, 15sss & 16sss after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                             Date Offense
 Title and Section                         Nature of Offense                                                 Concluded         Counts
 18:1962(d), 18:1963(a)                    Conspiracy to Participate in Racketeering Activity – RICO         08/20/2019         1sss
                                           Conspiracy
 18:1959(a)(1), 18:2                       Murder in Aid of Racketeering and Aiding and Abetting the         07/26/2016            12sss
                                           Same
 18:1951, 18:2                             Attempted Hobbs Act Robbery and Aiding and Abetting the           07/26/2016            13sss
                                           Same
 18:924(j)(1),                             Use or Carry of a Firearm and Possession of ma Firearm in         07/26/2016            14sss
 18:924(c)(1)(A)(ii)18:924(                Relation to and in Furtherance of a Crime of Violence Resulting
 c)(1)(A)(iii) and 18:2                    in Death and Aiding and Abetting the Same
 18:1959(a)(5), 18:2                       Attempted Murder in Aid of Racketeering and Aiding and            07/26/2016            15sss
                                           Abetting the Same
 18:924(c)(1)(A)(ii),                      Use or Carry of a Firearm and Possession of a Firearm in          07/26/2016            16sss
 18:924(c(1)(A)(iii) ,18:2                 Relation to and in Furtherance of a Crime of Violence, and
                                           Aiding and Abetting the Same


       The Defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  The defendant has been found not guilty on count(s).
  Count(s) 1, 1s, 1ss, 6, 6s, 7, 7s, 12ss, 13ss, 14ss, 15ss, 16, 16s, 16ss, 17 & 17s (is)(are) dismissed on the motion of
        the United States.


        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 1 of 8
AO 245 B (WDNC Rev. 02/11) Judgment in a Criminal Case   revTitle
Defendant: Renaire Roshique Lewis Jr                                                              Judgment- Page 2 of 8
Case Number: DNCW317CR000134-043




                                                                    Date of Imposition of Sentence: 10/26/2020




                                                                    Date: November 9, 2020




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 2 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                  Judgment- Page 3 of 8
Case Number: DNCW317CR000134-043



                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
Count 1sss: LIFE; Count 12sss: LIFE to run concurrently; Count 13sss: TWO HUNDRED & FORTY (240) MONTHS to
run concurrently; Count 14sss: ONE HUNDRED & TWENTY (120) MONTHS to run consecutively to all other counts;
Count 15sss: ONE HUNDRED & TWENTY (120) MONTHS to run concurrently; Count 16sss: ONE HUNDRED &
TWENTY (120) MONTHS to run consecutively to all other Counts for a total of LIFE plus TWO HUNDRED & FORTY
(240) MONTHS .

 The Court makes the following recommendations to the Bureau of Prisons:
         1.    Placed in a facility as close to Charlotte, NC as possible, consistent with the needs of BOP.
         2.    Participation in any available educational and vocational opportunities.
         3.    Participation in the Federal Inmate Financial Responsibility Program.
         4.    Participation in any available substance abuse treatment program and, if eligible, receive benefits of
               18:3621(e)(2).

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
            As notified by the United States Marshal.
            At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            As notified by the United States Marshal.
            Before 2 p.m. on .
            As notified by the Probation Office.


                                                             RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                        United States Marshal
                                                                           By:
                                                                                 Deputy Marshal




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 3 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                                                           Judgment- Page 4 of 8
Case Number: DNCW317CR000134-043

                                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Counts 1sss, 12sss, 13sss, 14sss, 15sss
& 16sss: THREE (3) YEARS each count to run concurrently.

☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.
                                                              CONDITIONS OF SUPERVISION
The defendant shall comply with the mandatory conditions that have been adopted by this court.
       1.     The defendant shall not commit another federal, state, or local crime.
       2.     The defendant shall not unlawfully possess a controlled substance.
       3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
              imprisonment and at least two periodic drug tests thereafter, as determined by the Court (unless omitted by the Court).
       4.     ☐ The defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check if
              applicable)
       5.     The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
       1.     The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
              imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
       2.     The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
       3.     The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
              officer.
       4.     The defendant shall answer truthfully the questions asked by the probation officer.
       5.     The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
              (such as location and the people with whom the defendant lives).
       6.     The defendant shall allow the probation officer to visit him/her at any time at his/her home or elsewhere, and shall permit the probation officer to take any
              items prohibited by the conditions of his/her supervision that the probation officer observes.
       7.     The defendant shall work full time (at least 30 hours per week) at lawful employment, unless excused by the probation officer. The defendant shall notify the
              probation officer within 72 hours of any change regarding employment.
       8.     The defendant shall not communicate or interact with any persons engaged in criminal activity, and shall not communicate or interact with any person
              convicted of a felony unless granted permission to do so by the probation officer.
       9.     The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      10.     The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
              was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      11.     The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without the permission of the Court.
      12.     If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation officer may require the
              defendant to notify the person about the risk. The probation officer may contact the person and make such notifications or confirm that the defendant has
              notified the person about the risk.
      13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
              substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
              whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
              practitioner.
      14.     The defendant shall participate in a program of testing for substance abuse if directed to do so by the probation officer. The defendant shall refrain from
              obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of the testing. If warranted, the defendant shall participate in a
              substance abuse treatment program and follow the rules and regulations of that program. The probation officer will supervise the defendant’s participation in
              the program (including, but not limited to, provider, location, modality, duration, intensity) (unless omitted by the Court).
      15.     The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
              first obtaining the permission of the probation officer.
      16.     The defendant shall submit his/her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic
              communications or data storage devices or media, or office, to a search conducted by a United States Probation Officer and such other law enforcement
              personnel as the probation officer may deem advisable, without a warrant. The defendant shall warn any other occupants that such premises may be subject
              to searches pursuant to this condition.
      17.     The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
              of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
              circumstances that might affect the ability to pay this financial obligation.
      18.     The defendant shall provide access to any financial information as requested by the probation officer and shall authorize the release of any financial
              information. The probation office may share financial information with the U.S. Attorney’s Office.
      19.     The defendant shall not seek any extension of credit (including, but not limited to, credit card account, bank loan, personal loan) unless authorized to do so in
              advance by the probation officer.
      20.     The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      21.     The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
              program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
              intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      22.     The defendant shall follow the instructions of the probation officer related to the conditions of supervision.



                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 4 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                          Judgment- Page 5 of 8
Case Number: DNCW317CR000134-043



ADDITIONAL CONDITIONS:

     23.      The defendant shall not communicate, or otherwise interact, with any known member of the United Blood Nation (UBN)
              gang, without first obtaining permission of the probation officer.
     24.      The defendant shall not communicate, or otherwise interact, with victims or victims family, either directly or through
              someone else, without first obtaining the permission of the probation officer.




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 5 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                      Judgment- Page 6 of 8
Case Number: DNCW317CR000134-043



                                                          CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                      RESTITUTION                              FINE
                    $600.00                                          $0.00                                 $0.00


 The determination of restitution is deferred until. Upon such a determination an Amended Judgment in a Criminal Case
(AO 245C) will be entered. Failing such a determination by, restitution amount becomes $0.00 without further Order of the
Court.




                                                                    INTEREST

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

           The interest requirement is waived.

           The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

 The defendant shall pay court appointed counsel fees.




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 6 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                          Judgment- Page 7 of 8
Case Number: DNCW317CR000134-043



                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

           A  Lump sum payment of $0.00 due immediately, balance due
                  Not later than
                  In accordance  (C),  (D) below; or

           B  Payment to begin immediately (may be combined with  (D) below); or

           C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

           D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
               commencement of supervision, payments shall be made in
               equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
               supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
               a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court costs:
 The defendant shall forfeit the defendant’s interest in the following property to the United States

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street,
Room 210, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial
Responsibility Program. All criminal monetary penalty payments are to be made as directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 7 of 8
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Renaire Roshique Lewis Jr                                                                 Judgment- Page 8 of 8
Case Number: DNCW317CR000134-043



                                                          STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)         ____________________________________ Date: _________________
                  Defendant

(Signed)         ____________________________________ Date: _________________
                  U.S. Probation Office/Designated Witness


 The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
payment of all or part of the restitution ordered herein and may order such payment in the future.




                    Case 3:17-cr-00134-FDW-DSC Document 3002 Filed 11/09/20 Page 8 of 8
